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 1                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO
 2
 3
 4        UNITED STATES OF AMERICA,

 5        Plaintiff
                                                        CRIMINAL 05-0150 (JAG)
 6        v.
 7
          [1] ROSA HAYDEE MORALES,
 8
          Defendant
 9
10                    MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
                         RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
11
12   I.        Personal Background
13             On May 5, 2005, Rosa Haydee Morales, the defendant herein, was charged in
14   counts one and two of a three-count indictment. The defendant agrees to plea guilty
15   to both counts. Count one charges that defendant, along with co-defendants, did
16   knowingly and intentionally combine, conspire, and agree with one another to
17   commit an offense against the United States, to wit: to possess with the intent to
18   distribute 100 grams or more of a mixture or substance containing a detectable
19   amount of heroin, specifically 575 grams (gross weight) of heroin, a Schedule I
20   Controlled Substance, in violation of 21 U.S.C. §§ 841(a)(1) and 846.
21             Count two charges that the defendant did knowingly and intentional import
22   into the United States from a place outside thereof, that is, the Dominican Republic,
23   100 grams or more of a mixture or substance containing a detectable amount of
24   heroin, specifically 289 grams (gross weight) of heroin, a Schedule I, Narcotic Drug
25   Controlled Substance, in violation of 21 U.S.C. § 952(a).
26             Defendant filed a motion for change of plea on September 27, 2005.
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     II.    Consent to Proceed Before a Magistrate Judge
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            On October 11, while assisted by Benito I. Rodríguez Massó, Esq., the
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     defendant, by consent, appeared before me in order to change her previous not
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     guilty plea to a plea of guilty as to counts one and two of the indictment.
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            In open court the defendant was questioned as to the purpose of the hearing
 8
     being held. The defendant responded that the purpose of the hearing was to plead
 9
     guilty. The defendant was advised of her right to have all proceedings, including the
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     change of plea hearing, before a United States district judge. Defendant was given
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     notice of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries
12
     were to be conducted under oath and that it was expected that her answers would
13
     be truthful (she was also explained that the consequences of lying under oath could
14
     lead to a perjury charge); and (c) her right to have the change of plea proceedings
15
     presided over by a district judge instead of a magistrate judge. The defendant was
16
     also explained the differences between the appointment and functions of the two.
17
     The defendant consent to proceed before this magistrate judge.
18
     III.   Proceedings Under Rule 11, Federal Rules of Criminal Procedure
19
            A. Compliance With Requirements Rule 11(c)(1)
20
                   Rule 11 of the Federal Rules of Criminal Procedure governs the
21          acceptance of guilty pleas to federal criminal violations. Pursuant to
            Rule 11, in order for a plea of guilty to constitute a valid waiver of the
22          defendant’s right to trial, guilty pleas must be knowing and voluntary:
            “Rule 11 was intended to ensure that a defendant who pleads guilty
23          does so with an ‘understanding of the nature of the charge and
            consequences of his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4
24          (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S. 459, 467
            (1969)). [There are three core concerns in these proceedings]: 1)
25          absence of coercion; 2) understanding of the charges; and 3) knowledge
            of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
26          F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st
            Cir. 1991)).
27
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
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           In response to further questioning, defendant was explained and she
 4
     understood that if convicted on either count of the indictment, she was exposed to
 5
     a term of imprisonment of up to 40 years with a minimum of five years, a fine not
 6
     to exceed $2,000,000, and a term of supervised release of not more than five years.
 7
           She was further explained that the court must also impose a mandatory
 8
     penalty assessment of $100 per count, to be deposited in the Crime Victim Fund,
 9
     pursuant 18 U.S.C. 3013(a).
10
           Defendant was advised that the ultimate sentence was a matter solely for the
11
     court to decide in its discretion and that, even if the maximum imprisonment term
12
     and fine were to be imposed upon her, she later could not withdraw her guilty plea
13
     if she was unhappy with the sentence of the court. The defendant understood this.
14
           Defendant was explained what the supervised release term means. It was
15
     emphasized that cooperation with the United States Probation officer would assist
16
     the court in reaching a fair sentence.
17
           Emphasis was made on the fact that at this stage, no prediction or promises
18
     as to the sentence to be imposed could be made by anyone. Defendant responded to
19
     questions in that no promises, threats, inducements or predictions as to what
20
     sentence will be imposed have been made to her.
21
           B. Admonishment of Constitutional Rights
22
           To assure defendant's understanding and awareness of her rights, defendant
23
     was advised of her right:
24
           1.   To remain silent at trial and be presumed innocent, since it is the
25
     government who has the burden of proving her guilt beyond a reasonable doubt.
26
           2.   To testify or not to testify at trial, and that no comment could be made by
27
     the prosecution in relation to her decision not to testify.
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            3.    To a speedy trial before a district judge and a jury, at which she would be
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     entitled to see and cross examine the government witnesses, present evidence on her
 5
     behalf, and challenge the government's evidence.
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            4.    To have a unanimous verdict rendered by a jury of twelve persons which
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     would have to be convinced of defendant’s guilt beyond a reasonable doubt by means
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     of competent evidence.
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            5.    To use the subpoena power of the court to compel the attendance of
10
     witnesses.
11
            Upon listening to the defendant's responses, observing her demeanor and her
12
     speaking with her attorney, that to the best of counsel's belief defendant had fully
13
     understood her rights, it is determined that defendant is aware of her constitutional
14
     rights.
15
            C. Consequences of Pleading Guilty
16
            Upon advising defendant of her constitutional rights, she was further advised
17
     of the consequences of pleading guilty. Specifically, defendant was advised that by
18
     pleading guilty and upon having her guilty plea accepted by the court, she will be
19
     giving up the above rights and would be convicted solely on her statement that she
20
     is guilty.
21
            Furthermore, the defendant was admonished of the fact that by pleading guilty
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     she would not be allowed later on to withdraw her plea because she eventually might
23
     disagree with the sentence imposed, and that when she were under supervised
24
     release, and upon violating the conditions of such release, that privilege could be
25
     revoked and she could be required to serve an additional term of imprisonment. She
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     was also explained that parole has been abolished.
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           D. Plea Agreement
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           The parties have entered into a written plea agreement that, upon being signed
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     by the government, defense attorney and defendant, was filed and made part of the
 6
     record. Defendant was clearly warned and recognized having understood that:
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           1.   The plea agreement is not binding upon the sentencing court.
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           2.   The plea agreement is an “agreement” between the defendant, defense
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     attorney and the attorney for the government which is presented as a
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     recommendation to the court in regards to the applicable sentencing adjustments
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     and guidelines, which are advisory.
12
           3.   The agreement provides a sentencing recommendation and/or anticipated
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     sentencing guideline computation, that can be either accepted or rejected by the
14
     sentencing court.
15
           4.   In spite of the plea agreement and any sentencing recommendation
16
     contained therein, the sentencing court retains full discretion to reject such plea
17
     agreement and impose any sentence up to the possible maximum penalty prescribed
18
     by statute.
19
           Defendant acknowledged having understood this explanation. Defendant
20
     complies with the safety valve provisions.
21
           E. Government's Evidence (Basis in Fact)
22
           The government presented a proffer of its evidence with which the defendant
23
     concurred.
24
           Accordingly, it is determined that there is a basis in fact and evidence to
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     establish all elements of the offenses charged.
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           F. Voluntariness
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           The defendant accepted that no leniency had been promised, no threats had
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     been made to induce her to plead guilty and that she did not feel pressured to plead
 6
     guilty. She came to the hearing for the purpose of pleading guilty and listened
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     attentively as the prosecutor outlined the facts which it would prove if the case had
 8
     proceeded to trial.
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     IV.   Conclusion
10
           The defendant, by consent, has appeared before me pursuant to Rule 11,
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     Federal Rules of Criminal Procedure, and has entered a plea of guilty as to counts
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     one and four of the indictment.
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           After cautioning and examining the defendant under oath and in open court,
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     concerning each of the subject matters mentioned in Rule 11, as described in the
15
     preceding sections, I find that the defendant Rosa Haydee Morales is competent to
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     enter this guilty plea, is aware of the nature of the offenses charged and the
17
     maximum statutory penalties that the same carry, understands that the charges are
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     supported by the government's evidence, has admitted to every element of the
19
     offenses charged, and has done so in an intelligent and voluntary manner with full
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     knowledge of the consequences of her guilty plea.
21
           Therefore, I recommend that the court accept the guilty plea of the defendant
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     and that the defendant be adjudged guilty as to counts one and two of the
23
     indictment. After sentencing the government will request the dismissal of the
24
     remaining count of the indictment pending against the defendant.
25
           This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B)
26
     and Rule 72(d) of the Local Rules of Court. Any objections to the same must be
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     specific and must be filed with the Clerk of Court within five (5) days of its receipt.
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     Rule 510.1, Local Rules of Court; Fed. R. Civ. P. 72(b). Failure to timely file specific
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     objections to the report and recommendation is a waiver of the right to review by the
 5
     district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
 6
           At San Juan, Puerto Rico, this 13th day of October, 2005.
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 9
                                                   S/ JUSTO ARENAS
10                                       Chief United States Magistrate Judge

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